Case 7:24-cv-00317-DC-RCG                Document 9-1             Filed 02/28/25         Page 1 of 1




                                      UNITED STATES
                     SECURITIES AND EXCHANGE COMMISSION

                                100 F. Street, NE, Washington, DC 20549



 OFFICE OF THE CENEICVL COUNSEL                                           Eric A. Rcicher
                                                                          Special Trial Counsel
                                                                          202-551-7921




                                       February 27, 2025

 Via UPS


 United States District Court
 Clerk of Court
 Room 222
 200 East Wall
 Midland, TX 79701-5201

        Re:       Originals of Motion for Admissions PHV filed in Willcot v. SEC, et ai,
                  7:24-cv-00317-DC-RCG and Pease v. SEC, et ai, 7:24-cv-00322-DC-
                  RCG


 Dear Clerk of Court:


         Enclosed please find the originals of motions, and the corresponding proposed
 orders, for admission pro hac vice filed this afternoon in the two above cases. Please let
 me know if you need anything further. I can be reached at reichere@sec.gov or the
 phone number above.

        Thank you very much.

                                                            Sincerely,



                                                            Eric A. Reicher
